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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY


WILLIAM ARCE, individually and on behalf of all
others similarly situated,
                                                           CASE NO. 21-cv-11741 (JMV)(MF)
               Plaintiff,

               v.                                          NOTICE OF VOLUNTARY
                                                           DISMISSAL WITHOUT
TRAVEL GUARD GROUP, INC., NATIONAL                         PREJUDICE PURSUANT TO
UNION FIRE INSURANCE COMPANY OF                            FED. R. CIV. P. 41(a)(1)(A)(i)
PITTSBURGH, PA., and UNITED AIRLINES, INC.,

               Defendants.




       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff William Arce (“Plaintiff”) hereby

dismisses this action without prejudice.


Dated: August 18, 2021                      Respectfully submitted,

                                            BURSOR & FISHER, P.A.

                                            By:      /s/ Yitzchak Kopel
                                                         Yitzchak Kopel

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